Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 1 of 94



                            EXHIBIT A
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 2 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 3 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 4 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 5 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 6 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 7 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 8 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 9 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 10 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 11 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 12 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 13 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 14 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 15 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 16 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 17 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 18 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 19 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 20 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 21 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 22 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 23 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 24 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 25 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 26 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 27 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 28 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 29 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 30 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 31 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 32 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 33 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 34 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 35 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 36 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 37 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 38 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 39 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 40 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 41 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 42 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 43 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 44 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 45 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 46 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 47 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 48 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 49 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 50 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 51 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 52 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 53 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 54 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 55 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 56 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 57 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 58 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 59 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 60 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 61 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 62 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 63 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 64 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 65 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 66 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 67 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 68 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 69 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 70 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 71 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 72 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 73 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 74 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 75 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 76 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 77 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 78 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 79 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 80 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 81 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 82 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 83 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 84 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 85 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 86 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 87 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 88 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 89 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 90 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 91 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 92 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 93 of 94
Case 08-35653-KRH   Doc 10409-1 Filed 04/07/11 Entered 04/07/11 15:48:47   Desc
                    Exhibit(s) Exhibit A - Invoice Page 94 of 94
